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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 1:18-24364-Civ-COOKE/GOODMAN

   MARIAM GRIGORIAN, individually and on behalf
   of all others similarly situated,

           Plaintiff,                                               CLASS ACTION

   vs.

   FCA US LLC,


           Defendant,

                                              /

                 FCA US LLC’S NOTICE OF WITHDRAWAL OF ITS
          MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED CLASS ACTION
         COMPLAINT OR, ALTERNATIVELY, TO DISMISS CLASS ALLEGATIONS

           Defendant FCA US LLC, by and through its counsel of record, hereby withdraws its
   Motion to Dismiss Plaintiff’s First Amended Class Action Complaint or, Alternatively, to
   Dismiss Class Allegations, filed on March 18, 2019 (ECF ##74-75), and respectfully
   requests that this Court take no further action regarding that motion.
           FCA US is withdrawing its Motion to Dismiss because the issues and arguments
   presented therein have subsequently been submitted on a more-complete factual record in its
   pending Motion for Summary Judgment, which was filed on April 17, 2019 (ECF ##116-
   18) and fully briefed as of last week. The withdrawal of FCA US’s Motion to Dismiss will
   help conserve judicial resources, and obviate the need for this Court to consider FCA US’s
   arguments in two separate motions under different standards and evidentiary records.
           In light of the withdrawal of its Motion to Dismiss, FCA US is filing herewith its
   Answer to Plaintiff’s First Amended Class Action Complaint.
           This Court previously scheduled a hearing on FCA US’s Motion to Dismiss, which
   is set for June 12, 2019 at 10:30 a.m. See ECF #97. Given the withdrawal of that motion,
   FCA US respectfully submits that the June 12 hearing should be canceled unless there is
   some other motion or issue that the Court wishes the parties to address at that time.
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                                     Respectfully submitted,

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                                   CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a true copy of the foregoing was served by electronically
   filing with the Clerk of the Court using CM/ECF on this 8th day of May, 2019 on all counsel or
   parties of record on the Service List below.
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